






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-465 CR


____________________



KEVIN RAY JACKO, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 128th District Court


Orange County, Texas


Trial Cause No. A020566-R






MEMORANDUM OPINION (1)


	We have before the Court an appeal by Kevin Ray Jacko from a sentence
pronounced July 11, 2003.  The notice of appeal was filed with the trial court on October
2, 2003, more than thirty days from the date of sentencing.  We notified the parties that
the appeal did not appear to have been timely filed, but received no response.  The court
finds the notice of appeal was not timely filed.  Tex. R. App. P. 26.2.  No extension of
time was timely requested pursuant to Tex. R. App. P. 26.3.  It does not appear that
appellant obtained an out-of-time appal.  The Court finds it is without jurisdiction to
entertain this appeal.

	It is, therefore, ORDERED that the appeal of this cause be DISMISSED for want
of jurisdiction.

	APPEAL DISMISSED.

									PER CURIAM

Opinion Delivered December 18, 2003 

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


